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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY



 MIKE OVADIA,

                                 Plaintiff,
                                                 CIVIL ACTION:      3   :17 -cv -05044




                                 Defendant.




                         STIPULATION OF DISMISSAL WITH PREJUDICE
                               AND WTTHOUT PEES Allp COSTS

                  PlaintiffMike Ovadia ("Plaintiff') and Defendant Citibank, N.A., by and through

 their undersigned counsel, and pursuant to Fed. R. Civ. P. al(a)(1)(Axii), hereby stipulate and

 agree that   Plaintiffs claims in the above-captioned matter shall be and are DISMISSED WITH

 PREruDICE and without taxation of attorneys' fees or costs of any kind against any party.



 isl Edward B. Geller                         /s/ William Reilev
 Edward B. Geller, Esquire                    William Reiley, Esquire
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 Attorney s for Pl aintiff                    Attorney s for D efendant


 DATED: May 8,2018




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                                  CERTI{ICATE OF SERVICE
  '
         ,,Edward B. Geller, Esq., hereby certit. that, on this day, I caused a copy of the

 Stipulation of Dismissal to be served via ECF on the following:

                                      William Reiley, Esquire
                                     reileyw@ballardspahr. com
                                      BALLARD SPAHR LLP
                                   210 Lake Drive East, Suite 200
                                       Cherry Hill, NJ 08002
                              Attorneys for Defendant, Citibank, N.A.



                                                                   a


                                                       /s/ Edward B. Geller
                                                       EDWARD B. GELLER
 Dated: May 8,2018




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